Case 8:19-cv-03346-PJM Document 69 Filed 01/15/20 Page 1 of 2

21 COURT

  

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GISTRICT GF MARYLAN;
IN THE UNITED STATES DISTRICT COURT VAL
FOR THE DISTRICT OF MARYLAND —/020 JAN 15) AM in: o>
VEERK'S OFFICE
HIAS, INC., et al., * At ORCENBEL]
*
Plaintiffs, * 7
*
v. + Civil No. PJM 19-3346
*
DONALD TRUMP, in his official capacity *
as President of the United States, et al., *
*
Defendants. *
ORDER

Having considered Plaintiffs’ Motion for Preliminary Injunction (ECF No. 18),
Defendants’ opposition to same (ECF No. 54), the Parties’ memoranda of law, exhibits, and
amicus briefs, oral argument having been held, it is for reasons set forth in the accompanying
Memorandum Opinion, this 15" day of January 2020

ORDERED

1. Plaintiffs’ Motion for Preliminary Injunction, ECF No. 18, is GRANTED. Official
capacity Defendants Michael Pompeo, Alex Azar, and Chad Wolf, and all officers,
agents, and employees of Defendants, and anyone acting under their authorization or
direction, are hereby ENJOINED from enforcing Executive Order 13888 and the FY

2020 Notice of Funding Opportunity for Reception and Placement Program.

2. Plaintiffs are not required to pay a security deposit.

3. Nothing herein shall prevent Defendants from issuing a new Notice of Funding

Opportunity for Reception and Placement Program with a new application period of

reasonable duration; provided that such Notice does not in any way enforce Executive

Order 13888.
Case 8:19-cv-03346-PJM Document 69 Filed 01/15/20 Page 2 of 2

4. Plaintiffs’ Motion to Strike the Veprek Declaration, ECF No. 56, is DENIED.

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Aeharns: MESSITTE
UNITED earns DISTRICT JUDGE

 
